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 5                                UNITED STATES DISTRICT COURT
 6                                        DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                      Plaintiff,             )                   Case No. 2:12-cr-004-JCM-GWF
                                               )
10   vs.                                       )                   ORDER
                                               )
11   SEALED 39, defendants,                    )
                                               )
12                      Defendant.             )
     __________________________________________)
13
14            This matter comes before the Court on Government’s Ex Parte Motion to Partially Unseal
15   the Indictment. The Court previously granted the Government’s request to partially unseal the
16   Indictment. See # 82. The Court now enters this order providing further direction on how this case
17   will proceed on the partially sealed indictment. This case shall proceed as follows:
18            1.     The names of the Defendants who are redacted in the “Redacted Indictment” (#83)
19   filed with the Court on March 6, 2012, shall be redacted from the CM/ECF docket sheet. In place
20   of the Defendant’s name, the Clerk of the Court shall insert “Defendant” followed by the
21   Defendant’s number and the Defendant’s unredacted AKA(s) as listed in the Indictment (#83).
22            2.     The original Indictment (#1) shall remain sealed unless otherwise ordered by the
23   Court.
24            3.     The Clerk of the Court shall unseal this case. All information and documents that
25   are not sealed by the Court will be available for public access.
26   ...
27   ...
28   ...
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 1          4.      When a Defendant, whose identity theretofore has been redacted and under seal,
 2   makes his/her initial appearance before the Court, the Court will order that the Indictment (#1) be
 3   unsealed as to that Defendant. The United States shall then promptly file a revised redacted
 4   indictment consistent with the unsealing of that Defendant’s identity.
 5          IT IS SO ORDERED.
 6          DATED this 23rd day of March, 2012.
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 8                                                ______________________________________
                                                  GEORGE FOLEY, JR.
 9                                                United States Magistrate Judge
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